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EXHIBIT 1

INDEX OF EXHIBITS TO

PLAINTIFF CAMERON INTERNATIONAL CORPORATION'S

MEMORANDUM IN SUPPORT OF ITS MOTION FOR

PARTIAL SUMMARY JUDGMENT ON ITS CLAIMS FOR

BREACH OF CONTRACT, INDEMNITY, AND DEFENSE EXPENSES

Exhibit 1 Index of Exhibits to Plaintiff Cameron International
Corporation's Memorandum

Exhibit 2 Liberty Insurance Underwriters Inc. Policy

Exhibit 3 Excerpts of Deposition of Denise Morris

Exhibit 4 Excerpts of Deposition of Alan Mandel

Exhibit 5 Liberty Insurance Underwriters Policy Form 0101-XS (Ed. 03-
00)

Exhibit 6 Insurance Tower Diagram

Exhibit 7 Chubb Atlantic Indemnity Limited Policy

Exhibit 8 AIG Excess Liability Insurance International Limited Policy

Exhibit 9 Illinois National Insurance Company Policy

Exhibit 10 Master Services Agreement

Exhibit 11 Purchase Order

Exhibit 12 Liberty’s Responses to Requests for Admission

Exhibit 13 Excepts of Deposition of Alexis Nusum

Exhibit 14 Excerpts of Deposition of Charles Sledge

Exhibit 15 Excerpts from the Deposition of William Lee

Exhibit 16 November 7, 2011 Letter from P. Koepff

Exhibit 17 December 12, 2011 Email from M. Auslander

Exhibit 18 December 14, 2011 Letter from P. Koepff

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Exhibit 19 December 13, 2011 Letter from P. Koepff

Exhibit 20 Excerpts from the Deposition of James Engel

Exhibit 21 BP-Cameron Settlement

Exhibit 22 Liberty’s Supplemental Responses to Interrogatories

Exhibit 23 15 LEER. Russ & THOMAS F, SEGALLA, COUCH ON INSURANCE
(3d ed. 2005 & Supp. 2013)

Exhibit 24 C. LUTHARDT & E. WIENING, PROPERTY AND LIABILITY
INSURANCE PRINCIPLES(4th ed. 2005)

Exhibit 25 December 14, 2011 letter from R. Bryan

Exhibit 26 Excerpts from the Deposition of Maureen Martin

-Exhibit 27 Excerpts from the Deposition of Jessica Rogin

Exhibit 28 Complaint, Liberty Int’l Underwriters Canada v. Scottsdale
Ins, Co., Civ. A. No, 1:12-cv-04934 (D.N.J. Aug. 6, 2012)

Exhibit 29 Excerpts from the Deposition of Jeffrey Roberts

Exhibit 30 46A EDWARD K. ESPING, ET AL., TEXAS JUR. 3D Insurance
Contracts and Coverage (Jan. 2014)

Exhibit 31 Excerpts from the Deposition of Brad Eastman

Exhibit 32 Excerpt from Transocean's 2013 Form 10-K

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